Case 2:19-cv-00169-VAP-KK Document 144 Filed 11/24/21 Page 1 of 2 Page ID #:1864



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   8                      IN THE UNITED STATES DISTRICT COURT
   9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
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       TRACEY BERNARD                               2:19-cv-00169-VAP-KK
  13   WASHINGTON,
                                                   ORDER GRANTING
  14                                    Plaintiff, STIPULATION FOR
                                                   VOLUNTARY DISMISSAL WITH
  15                v.                             PREJUDICE (Fed. R. Civ. P.
                                                   41(a)(1)(A)(ii))
  16
       CALIFORNIA DEPARTMENT OF                     Judge:        The Honorable Kenly
  17   CORRECTIONS AND                                            Kiya Kato
       REHABILITATION et al.,                       Action Filed: 4/1/2019
  18
                                    Defendants.
  19
  20         Having read and considered Plaintiff Tracey B. Washington and Defendants
  21   A. Lizama, B. Presnell, G. Hernandez, J. Hanks, O. Romo-Munoz, and W.
  22   Wingfield stipulation for voluntary dismissal with prejudice pursuant to Federal
  23   Rule of Civil Procedure 41(a)(1)(A)(ii), the stipulation is GRANTED.
  24         Accordingly, IT IS HEREBY ORDERED THAT:
  25         1. The entire matter is dismissed with prejudice under Federal Rule of Civil
  26   Procedure 41(a)(1)(A)(ii); and
  27   ///
  28   ///

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Case 2:19-cv-00169-VAP-KK Document 144 Filed 11/24/21 Page 2 of 2 Page ID #:1865



   1        2. Each party shall bear its own litigation costs and attorney’s fees.
   2        IT IS SO ORDERED.
   3
   4   Dated: November 24, 2021             __________________________________
   5                                             The Honorable Kenly Kiya Kato
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